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 7   Attorneys for Plaintiff SHANNON NEWBY
 8
                          UNITED STATES DISTRICT COURT
 9
                        CENTRAL DISTRICT OF CALIFORNIA
10

11                                         )   Case No.:   2:18 CV 2272
     SHANNON NEWBY
                                           )
12                                         )
                     Plaintiff,            )   COMPLAINT FOR DAMAGES AND
13                                         )   INJUNCTIVE RELIEF FOR
          vs.                              )   COPYRIGHT INFRINGEMENT
14                                         )
     PUNCH TV STUDIOS, INC. and            )
15                                         )
     DOES 1-10, Inclusive,                     DEMAND FOR JURY TRIAL
                                           )   (F.R.C.P. Rule 38)
16                                         )
                  Defendants               )
17                                         )
                                           )
18                                         )
                                           )
19                                         )
20

21        COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF FOR
22
                            COPYRIGHT INFRINGEMENT
23

24

25
           Plaintiff SHANNON NEWBY, (“Plaintiff”) alleges against PUNCH TV
26

27   STUDIOS, INC.; and DOES 1-10 (“Defendants”) as follows:
28


                                         Page 1                           Complaint
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 1
                                         I. THE PARTIES
 2
        1. Plaintiff is a writer, director and producer, residing in the state of
 3

 4   Pennsylvania.
 5
        2. Upon information and belief, Defendant Punch TV Studios, Inc. is a
 6

 7   Delaware corporation with its principal place of business in Inglewood, CA.
 8
        3. Plaintiff does not presently know the true names and capacities of the
 9

10
     defendants named as Does 1 through 10 and therefore sues such defendants by

11   these fictitious names. Plaintiff believes that the Doe Defendants are persons or
12
     entities who are involved in the acts set forth below, either as independent
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14   contractors, agents, or employees of the known defendants, or through entering
15
     into a conspiracy and agreement with the known Defendants to perform these acts,
16

17   for financial gain and profit, in violation of Plaintiff’s rights. Plaintiff will request
18
     leave of Court to amend this Complaint to set forth their true names, identities and
19
     capacities when Plaintiff ascertains them. The Doe defendants and the known
20

21   Defendants are referred to hereinafter collectively as “Defendants.”
22
                                 JURISDICTION AND VENUE
23

24   1. The present action arises under the Copyright Act, Title 17, Section 101, et seq.,
25
     of the United States Code.
26

27
     2. Jurisdiction is conferred on this Court by 28 U.S.C. Section 1338(a).

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                                              Page 2                                   Complaint
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 1
     3. Venue lies in the Central District of California under 28 U.S.C § 1391(a) and
 2
     (b) and 28 U.S.C. Section 1400(a).
 3

 4                     FACTS COMMON TO CLAIMS OF RELIEF
 5
     4.    In 2007, Plaintiff wrote, directed and produced a television series titled
 6

 7   Heavy Sedation. Newby registered Heavy Sedation with the U.S. Copyright Office
 8
     on July 10, 2007, and received registration number PA0001385419.
 9

10
     5. Upon information and belief, Defendant Punch TV is a television production

11   and broadcasting company which distributes television programs and motion
12
     pictures around the world.
13

14   6.Within the past three years, Punch TV began airing episodes of Heavy Sedation
15
     on its network. The episodes have aired as recently as March 2018.
16

17   7. Punch TV’s airing of Newby’s copyright television program was done without
18
     Newby’s knowledge or consent.
19
                                  FIRST CLAIM FOR RELIEF
20

21                 (For Copyright Infringement Against All Defendants)
22
     8.    Plaintiff re-allege and incorporate by reference, as though set forth in full,
23

24   paragraphs 1 through 7 above as though fully set forth herein.
25
     9. Defendants, and each of them, have infringed the copyright in Heavy Sedation
26

27
     Defendants have distributed, and broadcast episodes of Heavy Sedation on the

28


                                            Page 3                                  Complaint
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 1
     Punch TV network. Defendants did not pay Plaintiff, nor secured Plaintiff’s
 2
     authorization to broadcast Heavy Sedation on the Punch TV network.
 3

 4   10. As a direct and proximate result of Defendants' infringement, Plaintiff is
 5
     entitled to its actual damages in addition to Defendants' profits that are attributable
 6

 7   to the copyrighted material; alternatively, Plaintiff is entitled to statutory damages
 8
     for infringement in the maximum statutory amount allowed.
 9

10
     11. Furthermore, in acting as alleged above, Plaintiff is informed and believes, and

11   on that basis allege, that Defendants have acted oppressively, maliciously and
12
     willfully for the purpose of injuring Plaintiff, and, therefore, Plaintiff is entitled to
13

14   additional damages in an amount to be proven at trial for willful and knowing
15
     infringement, but in no event less than $150,000.
16

17   12. Defendants threaten to continue to act as alleged above, and unless restrained
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     and enjoined, will continue to do so, all to Plaintiff's irreparable injury. The
19
     amount of compensation which would afford adequate relief to Plaintiff for such
20

21   injury will be difficult to ascertain. The wrongful acts of Defendants are of a
22
     continuing nature and will require a multiplicity of judicial proceedings.
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24   Accordingly, Plaintiff's remedy at law is inadequate, and Plaintiff is entitled to
25
     preliminary and permanent injunctive relief to enjoin the wrongful conduct of
26

27
     Defendants alleged above.

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                                              Page 4                                   Complaint
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 1
           WHEREFORE, Plaintiff prays for judgment against Defendants as follows:
 2
           1.     That Defendants be required to pay Plaintiff such damages as Plaintiff
 3

 4   has sustained or will sustain by reason of Defendant's conduct, and to account for
 5
     all gains, profits and advantages derived by Defendant from such conduct but in no
 6

 7   event less than $150,000.
 8
           2.   That all items which infringe Plaintiff's copyright be impounded
 9

10
     surrendered up and forfeited to Plaintiff for destruction or other disposition.

11         3.     That Defendants and Defendants’ agents, servants, and employees,
12
     and each of them, and all persons acting in concert and participation with them, be
13

14   enjoined and restrained during the pendency of this action and permanently
15
     thereafter from infringing any and all of the copyrights in his television program
16

17   by, among other things, copying, distributing, and broadcasting Plaintiff’s
18
     television program; and
19
           4. That Defendants be required to pay to Plaintiff its attorneys' fees and
20

21   costs incurred in connection with the prosecution of this action; and
22
           5. For such other and further relief as the Court deems appropriate.
23

24   DATED: March 19, 2018            LAW OFFICES OF LARRY ZERNER
25

26

27
                                             By: /s/Larry Zerner___________________
                                                Larry Zerner
28                                             Attorney for Plaintiff Shannon Newby

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 3
                             DEMAND FOR TRIAL BY JURY
 4
           Plaintiff Shannon Newby pursuant to Rule 38 of the Federal Rules of Civil
 5
     Procedure hereby demands trial by jury of all issues so triable in the present action.
 6

 7   DATED: March 19, 2018            LAW OFFICES OF LARRY ZERNER
 8

 9
                                      By: __/s/Larry Zerner_______________________
10                                       Larry Zerner
11                                       Attorney for Plaintiff Shannon Newby
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